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OF TEXAS






NO. WR-74,468-01






EX PARTE SALVATORE DEDERICK, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 08CR0556H IN THE 347TH DISTRICT COURT
FROM NUECES COUNTY 




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex.Crim.App. 1967). Applicant was convicted of aggravated
kidnapping and sentenced to five years' imprisonment. He did not appeal his conviction. 

	On July 16, 2010,  the trial judge signed an order designating issues. The habeas record has
been forwarded to this Court prematurely. We remand this application to Nueces County to allow
the trial judge to complete an evidentiary investigation and enter findings of fact and conclusions of
law.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 


Filed: September 22, 2010

Do not publish 


	


